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IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
IN AND FOR PINELLAS, STATE OF FLORIDA

WARREN B. KIRKLAND,
Plaintiff,
vs. CASE NO.: 20-004883-CI
DIVISION:

FAMILY DOLLAR STORES OF FLORIDA, LLC.
Defendant.
/

 

SECOND AMENDED COMPLAINT
(Before Answer)

Plaintiff, WARREN B. KIRKLAND, by and through the undersigned attorneys, hereby sues
Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC. and alleges:

1. This is an action for damages which exceed $30,000.00.

2. At all times material hereto, Plaintiff, WARREN B. KIRKLAND, was a resident of
Pinellas County, Florida.

3. At all times material hereto, Defendant, FAMILY DOLLAR STORES OF
FLORIDA, LLC., was and is a Foreign Limited Liability Company licensed to do business in the
State of Florida and doing business in Largo, Pinellas County, Florida as Family Dollar.

4. On March 5, 2019, Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC.,
was the owner and responsible for Family Dollar located at 1442 Missouri Avenue North, Largo,
Florida.

5. On March 5 2019, Plaintiff, WARREN B. KIRKLAND, was an invitee of the Family
Dollar located at 1442 Missouri Avenue North, Largo, Florida.

6. At that time and place, Plaintiff, WARREN B. KIRKLAND, was walking in the store
when he slipped on a liquid on the floor and fell.

7. Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC., was negligent in at

least the following manner:

***RLECTRONICALLY FILED 10/29/2020 08:36:34 AM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***

 
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a.) Failing to properly inspect and secure the area of Plaintiff’s incident;

b.) Failing to warn Plaintiff, WARREN B. KIRKLAND, of the hazardous
condition;

c.) Failing to provide a save environment for the Plaintiff;

8. As a result of the aforesaid negligence, Plaintiff, WARREN B. KIRKLAND, has
suffered bodily injury and resulting pain and suffering, disability, disfigurement, loss of capacity for
the enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss of
earnings, loss of ability to earn money, and/or aggravation of a previously existing condition. The
losses are either permanent or continuing, and Plaintiff, WARREN B. KIRKLAND, will suffer the
losses in the future. Some or all of the injuries sustained are permanent within a reasonable degree
of medical probability. Alternatively, and/or in addition, Plaintiffhas significant and permanent loss
of an important bodily function, and/or significant and permanent scarring or disfigurement.

WHEREFORE, Plaintiff, WARREN B. KIRKLAND, demands judgment against
Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC., for damages, costs, interest and
such other relief as this Court deems just and proper. Further, Plaintiff demand trial by jury on all

issues.

[Certificate of Service to Follow on the Next Page]

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed via Florida
E-Portal to Sherilee J. Samuel, Esq., Hill, Ward, Henderson, 101 East Kennedy Blvd., Tampa, FL.
33602; lisa.dreggors@hwhaw.com and Sherilee.samuel@hwhlaw.com on this 29" day of October,

2020.
BURNETTI, P.A.

By:__/S/ Jeffrey P. Diamond
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